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 1   Michael Shipley (SBN 233674)
     KIRKLAND & ELLIS LLP
 2   555 South Flower Street, 37th Floor
 3   Los Angeles, California 90071
     Tel: (213) 680-8400
 4   michael.shipley@kirkland.com

 5   Devora W. Allon, P.C. (Pro Hac Vice)
     Kevin M. Neylan, Jr. (Pro Hac Vice)
 6   KIRKLAND & ELLIS LLP
     601 Lexington Avenue
 7   New York, New York 10022
 8   Tel: (212) 446-4800
     devora.allon@kirkland.com
 9   kevin.neylan@kirkland.com

10   Attorneys for Plaintiff
     Teva Pharmaceuticals USA, Inc.
11

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13                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
14                                    SAN JOSE DIVISION
15

16
                                                    Case No. 5:24-cv-03567-BLF
17     TEVA PHARMACEUTICALS USA, INC.,
                                                    TEVA’S CASE MANAGEMENT
18                   Plaintiff,                     STATEMENT; [PROPOSED] ORDER
19
              v.                                    Date:    February 20, 2025
20                                                  Time:    11:00 a.m.
       CORCEPT THERAPEUTICS, INC., AND              Ctrm:    3 – 5th Floor
21     OPTIME CARE INC.,                            Judge:   Honorable Beth Labson Freeman
22                   Defendants.

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                                  TEVA’S CASE MANAGEMENT STATEMENT
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 1           Plaintiff Teva Pharmaceuticals USA, Inc. (“Teva”) hereby submits this SEPARATE CASE
 2   MANAGEMENT STATEMENT pursuant to the Standing Order for All Judges of the Northern
 3   District of California and Civil Local Rule 16-9. Pursuant to Local Rule 16-9, Teva has enclosed a
 4   declaration describing the conduct of Defendants Corcept Therapeutics, Inc. (“Corcept)” and Optime
 5   Care Inc. (“Optime,” and together with Corcept, “Defendants,”), which prevented the preparation of
 6   a joint statement.
 7   1.      JURISDICTION & SERVICE
 8           Teva’s Amended Complaint includes a claim under the federal antitrust laws, 15 U.S.C. §§ 1,
 9   2, 15(a), and 26, giving rise to subject matter jurisdiction under 28 U.S.C. § 1331 and 28 U.S.C. §
10   1337. The Court also has subject matter jurisdiction under 28 U.S.C. § 1367 of state law claims that
11   are so related to the federal law claims as to form part of the same case or controversy.
12           The Parties have agreed that there are no issues regarding jurisdiction, venue, or service at this
13   time. No parties remain to be served at this time.
14   2.      FACTS
15           Teva sets forth below its statement as to the main factual issues in dispute.
16           A.     Teva’s Position
17           The FDA granted Korlym orphan drug status on July 5, 2007. On February 17, 2012, the FDA
18   approved Corcept’s New Drug Application for Korlym as a treatment for endogenous Cushing’s
19   syndrome. Corcept launched Korlym in 2012. Defendants have not disputed that Korlym is in a
20   market that is properly defined to include only brand Korlym and its AB-rated generics.
21           On December 30, 2014, Corcept obtained the ‘348 patent and thereafter listed it in the Orange
22   Book on January 27, 2015. Further, on November 28, 2017, Corcept obtained the ‘495 patent and
23   thereafter listed it in the Orange Book on November 28, 2017. Neither of these patents had any
24   connection to Korlym, and Corcept listed them only to delay generic entry—which it did with respect
25   to Teva’s ANDA.
26           On August 4, 2017, Corcept entered into a highly unusual, long term, exclusive-dealing
27   agreement with Optime, a specialty pharmacy, to distribute Korlym.                The Agreement was
28   subsequently amended on August 1, 2022, and September 16, 2022. Unredacted versions of these
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 1   amendments are not publicly available, and Defendants have not produced them in discovery. But
 2   publicly available redacted versions indicate that these amendments made numerous adjustments to
 3   the terms of Corcept and Optime’s relationship, including revising the fees, services, and other
 4   obligations Corcept and Optime owed each other in connection with the distribution of Korlym. A
 5   further amendment dated April 1, 2024 comprehensively “amend[ed] and restate[d] the 2017
 6   Distribution Services Agreement in its entirety.” An unredacted version of the Agreement is not
 7   publicly available, and Defendants have not produced it in discovery, but a publicly available redacted
 8   version indicates that the Agreement has a current term that runs until March 31, 2027, with automatic
 9   renewal for successive three-year terms after that, and that it expressly forbids Optime from
10   distributing any rival Korlym products, including Teva’s generic.
11          On December 15, 2017, Teva filed its ANDA seeking FDA approval of a generic version of
12   Korlym, which included a Paragraph IV certification with respect to the ‘348 and ‘495 patents.
13   Corcept sued Teva for infringing the ‘348 and ‘495 patents in the D.N.J. on March 15, 2018, thereby
14   triggering a 30-month stay of FDA approval for Teva’s generic drug. As such, Teva’s ANDA received
15   a tentative approval on October 12, 2018, and received a final approval in August 2020, after the
16   expiry of the 30-month stay period.
17          Knowing that its patents had no connection to Korlym, Corcept continued its sham litigation
18   against Teva to delay its generic entry. This included asserting nine different patents against Teva in
19   four separate lawsuits filed between 2018 and 2023, which were strategically timed to maximize delay.
20   Corcept then went on to voluntarily dismiss suits asserting seven of these patents. As regards the
21   remaining two asserted patents, on December 29, 2023, Judge Bumb ruled in Teva’s favor, holding
22   that Teva’s generic did not infringe either of them, and that Corcept failed to introduce credible record
23   evidence that anyone—including Corcept’s own witnesses—had ever previously infringed the
24   asserted claims, even though Korlym had been commercially available for more than a decade.
25   Corcept’s improper Orange Book listings and sham litigations had the effect of delaying Teva’s FDA
26   approval and launch by several years.
27          Teva launched its generic Korlym on January 19, 2024 at a material discount to Corcept’s
28   brand Korlym. However, since its launch, Teva’s market share has been close to zero—approximately
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 1   1% of the market.      That result would be unheard-of in a properly functioning, competitive
 2   pharmaceutical market, where a first generic typically captures 60-75% or more of the market within
 3   the first six months, and usually more than 80% within the first year. Teva’s inability to effectively
 4   threaten Corcept’s monopoly in the market for Korlym is because of Corcept’s exclusive-dealing
 5   agreement with Optime, the only pharmacy that has distributed brand Korlym since 2017. Because
 6   Optime has long been the only pharmacy dispensing brand Korlym, Corcept and Optime have
 7   successfully established an entrenched distribution channel that makes it exceedingly difficult for
 8   rivals to challenge Corcept’s monopoly position through alternative means. Corcept and Optime are
 9   now using their exclusive-dealing agreement to prevent rivals like Teva from making inroads on
10   Corcept’s monopoly.     Teva has sought to compete by distributing its generic product through
11   alternative channels, but those efforts have not allowed Teva to reach end users of Korlym. Teva’s
12   experience shows that Defendants’ anticompetitive strategy has worked as intended.
13           To further solidify physicians’ use of brand Korlym and to undermine competition from Teva,
14   significant evidence indicates that Corcept has also engaged in a years-long campaign to induce
15   prescribers to select brand Korlym in exchange for bribes and kickbacks. These suspected practices
16   have been reported on by independent journalists, and are the subject of an ongoing investigation by
17   the United States Attorney’s Office for the District of New Jersey.
18           Through a combination of these tactics, Corcept continues to maintain its illegal monopoly
19   over the market for Korlym, leading to multiple antitrust violations. By entering into an exclusive-
20   dealing agreement with Corcept, Optime is assisting it with maintaining this monopoly.
21   3.      LEGAL ISSUES
22           Teva’s Amended Complaint asserts seven causes of action, including: (1) monopolization
23   under 15 U.S.C. § 2; (2) attempted monopolization under 15 U.S.C. § 2; (3) exclusive dealing under
24   15 U.S.C. § 1; (4) alleged violation of California’s Bus. & Prof. Code § 17200; (5) alleged violation
25   of California’s Bus. & Prof. Code § 16600; (6) alleged violation of various state antitrust and consumer
26   protection laws; and (7) unjust enrichment.
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 1           The case is currently at the pleading stage. Teva filed its operative first amended complaint
 2   on September 13, 2024 (ECF No. 39). Defendants on October 14, 2024 filed their joint motion to
 3   dismiss with prejudice (ECF No. 55). Defendants’ motion raises legal issues, including:
 4           •      Whether Teva’s claims are time barred;
 5           •      Whether Teva pleaded facts sufficient to plausibly establish antitrust injury;
 6           •      Whether Teva pleaded facts sufficient to plausibly establish harm to competition;
 7           •      Whether Teva pleaded facts sufficient to plausibly establish that Corcept pursued sham
 8                  patent litigation against Teva;
 9           •      Whether Teva pleaded facts sufficient to plausibly establish that Teva’s sham patent
10                  litigation claims are not otherwise barred by Noerr-Pennington immunity;
11           •      Whether Teva pleaded facts sufficient to plausibly establish that Corcept’s alleged
12                  payments to physicians and practitioners are improper “bribes”;
13           •      Whether Teva pleaded facts sufficient to plausibly establish that Corcept’s alleged
14                  payments to physicians and practitioners unlawfully harmed competition;
15           •      Whether Teva pleaded facts sufficient to state a claim under California’s Unfair
16                  Competition Law;
17           •      Whether Teva pleaded facts sufficient to state a claim under California’s Bus. & Prof.
18                  Code § 16600;
19           •      Whether Teva pleaded facts sufficient to state a claim under various state antitrust and
20                  consumer protection laws;
21           •      Whether Teva pleaded facts sufficient to state a claim based on unjust enrichment.
22           Teva understands that Defendants have not answered the first amended complaint, as they filed
23   a joint motion to dismiss with prejudice. Teva understands that the Parties may identify other legal
24   disputes to the extent the case progresses.
25   4.      MOTIONS
26           On October 14, 2024, Defendants filed a motion to dismiss the first amended complaint. ECF
27   No. 55. Teva opposed the motion on November 13, 2024, ECF No. 65, and Defendants filed a reply
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 1   on November 25, 2024, ECF No. 68. Defendant’s motion to dismiss is currently pending before the
 2   Court and is currently set for hearing on March 6, 2025. ECF No. 76.
 3           On January 30, 2025, Defendants filed a motion for a protective order under Federal Rule of
 4   Civil Procedure 26(c)(1) with respect to Teva’s non-party document subpoenas. ECF No. 71. In
 5   accordance with the Court’s Case Management Order dated November 4, 2024, ECF No. 63, this case
 6   was assigned to Magistrate Judge Virginia K. DeMarchi for discovery on February 3, 2025. ECF No.
 7   72. Judge DeMarchi’s Standing Order for Civil Cases outlines her procedure for addressing any
 8   discovery disputes, including a mandatory meet and confer between lead counsel and a joint dispute
 9   letter following the meet and confer. Since those procedures had not been followed by Defendants
10   prior to filing their motion, Teva requested Defendants to withdraw their motion and comply with
11   Judge DeMarchi’s procedures on February 3, 2025. Teva reiterated its request on February 6, 2025,
12   following which Defendants agreed to withdraw their motion without prejudice. Defendants withdrew
13   their motion on February 10, 2025. ECF No. 73.
14           Should this case proceed past the pleading stage, each side may move for summary judgment,
15   move to exclude expert testimony, and/or file motions in limine, among other potential motions.
16   5.      AMENDMENT OF PLEADINGS
17           In its Case Management Order dated November 4, 2024, subsequent to the Case Management
18   Conference on October 31, 2024, the Court held that Teva could seek leave to amend its complaint in
19   accordance with Federal Rule of Civil Procedure 15 until January 3, 2025. ECF No. 63.
20   6.      EVIDENCE PRESERVATION
21           The Parties have conferred about preserving evidence and have informed one another that they

22   have appropriate litigation holds in place to preserve relevant evidence. Teva has also reviewed the

23   Guidelines Relating to the Discovery of Electronically Stored Information. At this time, Teva is not aware

24   of any ESI issues that may arise in this case, but it understands that the Parties will address those to the

25   Court if they do arise and cannot be resolved by the Parties.

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 1   7.      DISCLOSURES
 2           In accordance with Federal Rule of Civil Procedure 26, the Parties exchanged Initial

 3   Disclosures on October 24, 2024. Teva served its first supplemental Initial Disclosures on February
 4   13, 2025. Teva will continue to supplement its disclosures as warranted as discovery progresses.
 5   8.      DISCOVERY
 6           A.     Discovery to Date
 7                  1.      Teva’s Position
 8           Defendants have consistently sought to delay Teva’s discovery efforts. Defendants first filed
 9   separate motions seeking a stay of discovery, on August 26, 2024, ECF Nos. 35, 37, which were
10   terminated as moot on September 16, 2024. ECF No. 40. Defendants then filed an administrative
11   motion moving “for an order continuing the Initial Case Management Conference[,]” ECF No. 43 at
12   1, which Teva opposed as being “procedurally improper” and a “thinly veiled motion to stay
13   discovery[.]” ECF No. 44 at 1. The Court agreed with Teva and denied Defendants’ administrative
14   motion with prejudice. ECF No. 45. At the Case Management Conference on October 31, 2024,
15   Defendants again asked for a “brief stay on discovery” until the hearing on their motion to dismiss,
16   ECF No. 62 at 8:1-3, which the Court denied. Id. at 8:14-15. Defendants then proposed extending
17   their time to respond to Teva’s discovery, id. at 10:15-18, which Teva noted would amount to a “de
18   facto [stay of] discovery.” Id. at 10:19-20. Indeed, the Court noted that if the Parties could not reach
19   an agreement concerning any such extension, the deadline under Federal Rules would continue to
20   apply because “the Federal Rules of Civil Procedure don’t give any preference to staying discovery
21   before the answer is filed.” Id. at 11:22-23. Subsequently, the Court denied Defendants’ motion to
22   stay discovery noting that it “does not find that a stay is warranted.” ECF No. 69 at 3. Yet, as outlined
23   below, Defendants continue to engage in obstructionist practices, which have prevented Teva from
24   obtaining any meaningful discovery since the last Case Management Conference. Put differently,
25   through their inaction, Defendants have availed themselves of a de facto stay of discovery.
26                          a.      Teva’s Discovery to Corcept
27           On October 3, 2024, Teva served Requests for Production (“RFPs”) on Corcept pursuant to
28   Federal Rule Civil Procure 26(d)(2). The parties agreed that Teva’s RFPs were considered served as
                                                        6
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 1   of October 8, 2024, the date of the parties’ Rule 26(f) conference. Subsequent to the October 31, 2024
 2   Case Management Conference, Corcept sought an extension to serve its responses and objections
 3   (“R&Os”) to Teva’s RFPs, which Teva granted. Corcept then served its R&Os on November 14,
 4   2024. In response to all but four of Teva’s RFPs, Corcept’s R&Os did not provide its position but
 5   instead asserted that it would not produce any documents until the Parties mutually agreed on the scope
 6   of the RFPs. The Parties met and conferred on December 6, 2024, following which Teva sent Corcept
 7   a letter on December 12, 2024, in which it offered compromises concerning certain positions and
 8   sought further clarification from Corcept. In the eight weeks since, despite Teva following up
 9   repeatedly, Corcept has failed to provide a response to Teva’s letter. Given the obvious lack of
10   progress, Teva sent a subsequent letter to Corcept on February 3, 2025, demanding a meet and confer
11   regarding this dispute within five court days, in accordance with Judge DeMarchi’s Standing Order
12   for Civil Cases. The Parties met and conferred on February 13, 2025. Corcept was not prepared to
13   discuss its positions with respect to Teva’s requests, and simply stated that it would provide a response
14   to Teva’s December 12, 2024 letter this week. To date, Corcept has only produced nine documents—
15   on January 31, 2025—which consist of only its organization charts from 2016 to 2024. Corcept has
16   not even produced an unredacted copy of its distribution agreement with Optime. In an effort to keep
17   discovery moving forward, Teva sent proposed search terms and custodians to Corcept on February
18   3, 2025, but has received no response.
19          Teva served a first set of interrogatories on Corcept on October 10, 2024. Similar to the RFPs,
20   Corcept sought an extension to respond, which Teva granted. Corcept subsequently served its R&Os
21   on November 19, 2024, offering the same response to each of Teva’s 16 interrogatories—namely, that
22   Corcept will not produce any information until the Parties agree on the scope of the interrogatory. The
23   Parties met and conferred on December 18, 2024. Subsequently, Teva sent a letter on December 23,
24   2024, providing certain information sought by Corcept, agreeing to put a pause on certain
25   interrogatories in good faith, and outlining the interrogatories with respect to which Corcept needed
26   to provide a response. Corcept served supplemental responses on February 7, 2025. In response to
27   eight of Teva’s interrogatories, Corcept repeated the identical response: “Corcept anticipates
28   identifying documents in its possession, custody, or control from which the answer to the non-
                                                        7
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 1   objectionable portions of this Interrogatory may be derived pursuant to Fed. R. Civ. P. 33(d).” On
 2   February 10, 2025, Teva demanded a meet and confer regarding Corcept’s failure to “separately and
 3   fully” answer Teva’s interrogatories, and its failure to identify specific documents as required under
 4   Rule 33(d), as well as Corcept’s refusal to provide any response to two of Teva’s interrogatories. The
 5   parties are working to schedule that meet and confer.
 6                         b.       Teva’s Discovery to Optime
 7          Teva served its RFPs on Optime at the same time as Corcept, and granted Optime a similar
 8   extension to respond. Optime served its R&Os on November 14, 2024 in which it similarly—in
 9   response to all RFPs—stated that it was refusing to produce any documents until the Parties agreed
10   on the scope of production. Teva met and conferred with Optime on December 4, 2024, following
11   which it sent a letter on December 11, 2024, to which Optime only responded on January 31, 2025.
12   Teva followed up with a letter on February 3, 2025. Teva and Optime had a productive meet and
13   confer on February 10, 2025 and reached agreement on the relevant time period for Teva’s requests.
14   Teva also sent its proposed search terms and custodians to Optime along with its February 3 letter but
15   has not received a response.
16          Teva served its interrogatories on Optime at the same time as Corcept, and granted Optime a
17   similar extension of time to respond. Optime served its R&Os on November 19, 2024, and the Parties
18   met and conferred on December 19, 2024. The parties had a productive meet and confer in which
19   Optime agreed to provide more detailed responses to Teva’s interrogatories, which Teva memorialized
20   in a letter sent on December 23, 2024. Optime provided supplemental responses to Teva’s first set of
21   interrogatories on February 7, 2025.
22                         c.       Teva’s Discovery to Non-Parties
23          On January 20, 2025, Teva provided Defendants with notice of 33 subpoenas it had served or
24   was attempting to serve on healthcare providers concerning its bribery and kickback allegations. It
25   has since been able to serve 18 out of the 33 subpoenas, the earliest of which was served on January
26   16, 2025, and is in the process of continuing to serve the others. Certain subpoena recipients—through
27   counsel or themselves—have since reached out to Teva, and Teva is in the process of meeting and
28   conferring with them or scheduling such meet and confers.
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 1                          d.     Teva’s Discovery Efforts
 2          Teva provided substantive responses to Corcept’s first set of RFPs on January 6, 2025. Corcept
 3   has not asked to meet and confer about those responses. Nevertheless, to keep discovery moving,
 4   Teva made its first production of documents on February 6, 2025.
 5          Teva responded to Corcept’s first set of interrogatories on January 9, 2025, and served its first
 6   supplemental responses on February 13, 2025. Teva will continue to supplement its interrogatory
 7   responses as circumstances warrant.
 8          B.      Scope of Anticipated Discovery
 9                  1.      Teva’s Position
10          Teva anticipates discovery including, without limitation, Corcept’s listing of the ‘348 and ‘495
11   patents in the Orange Book; Corcept’s patent infringement litigations related to Teva’s generic
12   Korlym; the exclusive dealing agreement between Corcept and Optime; information about Korlym,
13   including cost, pricing, and transactional data; payments made to any Korlym prescribers; any
14   government investigations related to Korlym, including the ongoing investigation by the U.S.
15   Attorney’s Office for the District of New Jersey; and other subjects that come to light as discovery
16   proceeds.
17          C.      Limitations or Modifications of the Discovery Rules
18          In its Case Management Order dated November 4, 2024, subsequent to the Case Management
19   Conference on October 31, 2024, the Court held that “[t]he presumptive limits on discovery set forth
20   in the Federal Rules of Civil Procedure shall apply to this case unless otherwise ordered by the Court.”
21   ECF No. 63.
22          D.      Stipulated Protective Order and E-Discovery Protocol
23                  1.      Teva’s Position
24          The Parties are in the process of negotiating a stipulated protective order, a draft of which was
25   first circulated by Teva October 7, 2024, and an e-discovery protocol, which Teva first circulated on
26   December 5, 2024. The Parties have exchanged several rounds of negotiation on both documents and
27   are close to an agreement on the e-discovery protocol. As discussed in subsection F below, the Parties
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 1   have reached an impasse on one issue with respect to the Protective Order and are in the process of
 2   scheduling a meet and confer on that issue.
 3           E.      Proposed Discovery Plan
 4           Teva discusses its position regarding scheduling in Section 16 below.
 5           Teva understands that Defendants submit that the bases for Teva’s claims—e.g., Corcept’s
 6   decisions to list certain patents in the Orange Book, Corcept’s underlying patent infringement suits
 7   against Teva, the negotiation and performance of the Corcept-Optime deal, and the like—may
 8   implicate protected materials (such as attorney-client communications and/or attorney work product).
 9   Teva further understands that the Parties will confer regarding those and other potential privileges
10   issues as appropriate should they arise, and the Parties will submit any such dispute to the Court should
11   they be unable to reach agreement. Teva does not, at this time, otherwise anticipate any issues relating
12   to claims of privilege or of protection as to trial-preparation materials, and Teva understands that the Parties

13   agree to address any such issues if and when they arise, and to submit any such issue to the Court for

14   resolution should it become necessary to do so.

15           F.      Identified Discovery Disputes
16           As noted earlier, Defendants moved for a protective order concerning Teva’s non-party
17   subpoenas. Defendants withdrew their motion on February 10, 2025.
18           In accordance with Judge DeMarchi’s Standing Order for Civil Cases, Teva and Corcept are
19   working to schedule a meet and confer regarding (1) whether the Protective Order should include a
20   provision to designate certain in-house counsel who may view Highly Confidential – Attorneys’ Eyes
21   Only material, consistent with the Northern District of California’s Model Protective Order for
22   Litigation Involving Patents, Highly Sensitive Confidential Information and/or Trade Secrets, and (2)
23   Corcept’s failure to provide substantive responses to Teva’s interrogatories. Additionally, on February
24   13, 2025, Teva and Corcept met and conferred regarding Corcept’s failure to provide substantive
25   responses to Teva’s Requests for Production. Corcept was not prepared to discus its positions with
26   respect to any of Teva’s Requests for Production, but Corcept represented that it would provide a
27   substantive response this week. Corcept has not yet done so, and Teva reserves all rights.
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 1   9.        CLASS ACTIONS
 2             This is not a class action lawsuit.
 3   10.       RELATED CASES
 4             There are no “related” cases between the Parties now pending in the Northern District of
 5   California, as that term is used in N.D. Cal. Civil L.R. 3-12(a). Corcept and Teva have been engaged
 6   in underlying patent litigation in the District of New Jersey, including Case No. 1:18-cv-03632; Case
 7   No. 2:19-cv-05066; Case No. 2:19-cv-21384; and Case No. 1:23-cv-01505. Certain claims and issues
 8   from the parties’ underlying patent litigation are presently pending before the United States Court of
 9   Appeals for the Federal Circuit in Corcept Therapeutics, Inc. v. Teva Pharmaceuticals USA, Inc., Case
10   No. 24-1346 (Fed. Cir.).
11   11.       RELIEF
12                    1.      Teva’s Position
13             Teva seeks an award of damages, including actual, consequential, compensatory, treble,
14   punitive, and/or other damages, including pre- and post-judgment interest at the statutory rates;
15   equitable relief in the nature of disgorgement, restitution, and the creation of a constructive trust to
16   remedy Defendants’ unjust enrichment; an injunction invalidating the exclusive dealing arrangement
17   between Corcept and Optime, and any other practices by Defendants that effectively and unlawfully
18   stifle competition; and any further legal and equitable relief that the Court may deem just and proper.
19   ECF No. 39.
20   12.       SETTLEMENT AND ADR
21             In its Case Management Order dated November 4, 2024, subsequent to the Case Management
22   Conference on October 31, 2024, the Court referred this case to Private Mediation. ECF No. 63. The
23   Court subsequently ordered the parties to hold an ADR session on or before November 14, 2025. ECF
24   No. 75.
25   13.       OTHER REFERENCES
26             Teva does not believe that this case is suitable for reference to binding arbitration, a special
27   master, or the Judicial Panel on Multidistrict Litigation.
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 1   14.    NARROWING OF ISSUES
 2          Teva does not believe that any issues can be narrowed at this time.
 3   15.    EXPEDITED TRIAL PROCEDURE
 4          Teva does not believe that this is a case that is suitable for the expedited trial procedure under
 5   the Expedited Trial Procedure of General Order No. 64.
 6   16.    CASE SCHEDULE
 7          In its Case Management Order dated November 4, 2024, subsequent to the Case Management
 8   Conference on October 31, 2024, the Court set certain deadline in the case schedule and directed “the
 9   parties to meet, confer, and submit a stipulation and order setting all deadlines not set by the Court …
10   including discovery cut-offs and expert disclosure deadlines” by November 15, 2024. ECF No. 63.
11   The Parties filed their proposal, which is included below for Court’s reference. ECF No. 67.
12          In the proposal below, dates that the Court has already set are highlighted in dark green, and
13   dates that the Court did not previously set but that parties agree on are not highlighted. The Parties’
14   lone dispute—regarding a date for substantial completion of document productions and final privilege
15   logs, a date that the Court did not previously set—is highlighted in red. The Parties also below provide
16   their respective positions on that one disputed date.
17               Deadline                       Teva’s Proposal                  Defendants’ Proposal
18    Last Day to Request Leave to               January 3, 2025                     January 3, 2025
      Amend Under Rule 15
19    Case Management Statement                 February 13, 2025                  February 13, 2025
      Due
20
      Case Management Conference          February 20, 2025, at 11 a.m.       February 20, 2025, at 11 a.m.
21    Motion to Dismiss Hearing             March 6, 2025, at 11 a.m.           March 6, 2025, at 11 a.m.
22    Substantial Completion of                   July 11, 2025                           N/A
      Document Productions and
23    Final Privilege Logs
                                                                              [Defendants oppose the setting
24                                                                            of a substantial completion
                                                                              deadline]
25    Close of Fact Discovery                  November 21, 2025                   November 21, 2025
26    Opening Expert Reports                     January 9, 2026                     January 9, 2026
27    Rebuttal Expert Reports                   February 20, 2026                  February 20, 2026

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 1    Completion of Expert                       March 27, 2026                     March 27, 2026
      Depositions
 2
      Final Date to File Dispositive              May 15, 2026                       May 15, 2026
 3    Motions
      Oppositions to Dispositive                  June 19, 2026                      June 19, 2026
 4    Motions
 5    Replies on Dispositive                      July 17, 2026                      July 17, 2026
      Motions
 6    Hearing Date for Dispositive          August 13, 2026, at 9 a.m.         August 13, 2026, at 9 a.m.
      Motions
 7
      Lead Counsel Meet-and-                    October 29, 2026                   October 29, 2026
 8    Confer Before Trial
      Motions in Limine (Max.                   November 9, 2026                   November 9, 2026
 9    5/Side) Due
10    Hearing Date for Non-in              November 12, 2026 at 9:00          November 12, 2026 at 9:00
      Limine Daubert Motions
11    Joint Pretrial Statement and             November 25, 2026                  November 25, 2026
      Order
12
      Jury Materials                           November 25, 2026                  November 25, 2026
13    (Preliminary Statement of
      Case; Voir Dire; Jury
14    Instructions; Verdict Form)
15    Oppositions to Motions in                 December 3, 2026                   December 3, 2026
      Limine
16
      Pretrial Conference                  December 10, 2026, at 1:30         December 10, 2026, at 1:30
17    Trial Briefs                               January 4, 2027                    January 4, 2027
18    Trial                                January 11, 2027, at 9 a.m.        January 11, 2027, at 9 a.m.

19                   1.     Teva’s Position

20            Given that the Parties have agreed to a cutoff for fact discovery, Defendants have thus far

21   provided no cogent reason why a deadline for the substantial completion of document productions and

22   final privilege logs should not be set as well. In the Parties’ prior proposal as to the case schedule,

23   Defendants raised numerous hypothetical concerns—based on pending motions and issues the parties

24   may end up litigating—to argue why setting such a deadline would be premature at this stage. But the

25   possibility of future contingent events is not a sound basis to not set a substantial completion deadline

26   now. (Indeed, the same could be said for all deadlines.) Should those contingencies actually arise,

27   the Parties will, of course, be free to diligently approach the Court for any necessary modifications to

28   the substantial completion deadline, or any other deadline for that matter. See Fed. R. Civ. Proc.
                                                        13
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 1   16(b)(4); Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992). As the point of
 2   a substantial completion deadline is to ensure that Parties have an adequate opportunity to review and
 3   follow up on documents received in discovery before conducting depositions, any modification of that
 4   deadline will very likely entail a similar modification of the fact discovery deadline too. Defendants
 5   have identified no unique concern about setting a substantial completion deadline that would not
 6   equally apply to a fact discovery deadline. Finally, Defendants’ claim that a substantial completion
 7   deadline should not be set because neither the Northern District’s Local Rules nor this Court’s standing
 8   orders requires it is not persuasive. To the contrary, given the recognized importance of completing
 9   document production and review before the onset of depositions, setting substantial completion
10   deadlines in complex litigation is a routine occurrence in this district. See generally Valentine v.
11   Crocs, Inc., 2023 WL 7461852, at *2 (N.D. Cal. Nov. 10, 2023); In re Google RTB Consumer Priv.
12   Litig., 2023 WL 3046793, at *1 (N.D. Cal. Apr. 21, 2023); In re Telescopes Antitrust Litig., 2022 WL
13   3590342, at *1 (N.D. Cal. Aug. 22, 2022); In re Facebook, Inc. Consumer Priv. User Profile Litig.,
14   2021 WL 10282213, at *3 (N.D. Cal. Nov. 14, 2021). Doing so adds significant value for the
15   administrative efficiency of the case. For all those reasons, Teva submits that the Court should include
16   a substantial completion deadline to the case schedule, and that July 11, 2025 is a reasonable deadline
17   under the circumstances.
18   17.    TRIAL
19          Teva has requested a jury trial.
20                  1.      Teva’s Position
21          Teva estimates that the trial will last approximately 14 days after a jury is empaneled.
22   18.    DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS
23                  1.      Teva’s Position
24          Teva filed its Certification of Conflicts and Interested Entities or Persons Pursuant to Civil
25   Local Rule 3-15 on June 13, 2024. ECF No. 5. Teva identified one entity with a financial interest in
26   the subject matter in this litigation—non-party Teva Pharmaceutical Industries Ltd., of which Plaintiff
27   Teva Pharmaceuticals USA, Inc. is an indirect, wholly owned subsidiary.
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                                                       14
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 1   19.    PROFESSIONAL CONDUCT
 2          All attorneys of record for Teva have reviewed the Guidelines for Professional Conduct for the
 3   Northern District of California.
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 1   Dated: February 13, 2025      Respectfully submitted,
 2

 3                                 By: /s/ Michael Shipley

 4                                 Michael Shipley
                                   KIRKLAND & ELLIS LLP
 5                                 555 South Flower Street, 37th Floor
                                   Los Angeles, California 90071
 6                                 Tel: (213) 680-8400
                                   michael.shipley@kirkland.com
 7

 8                                 Devora W. Allon, P.C.
                                   Kevin M. Neylan, Jr.
 9                                 KIRKLAND & ELLIS LLP
                                   601 Lexington Avenue
10                                 New York, NY 10022
                                   (212) 446 5967
11
                                   devora.allon@kirkland.com
12                                 kevin.neylan@kirkland.com

13                                 Attorneys for Plaintiff
                                   Teva Pharmaceuticals USA, Inc.
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 1                           [PROPOSED] CASE MANAGEMENT ORDER
 2
            The above Case Management Statement and [Proposed] Order is approved as the Case
 3
     Management Order for this case and all parties shall comply with its provisions.
 4
            IT IS SO ORDERED.
 5

 6
            Dated: _____________,
 7
                                                           __________________________
 8                                                         The Hon. Beth Labson Freeman
                                                           United States District Judge
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